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                                                                                    FILED
  I Plaintiff Alan R Melvin. Responding To case 19-CV-729-SIP                                ^^
                                                                                 CARMELITA REEDER SHICLERK
                                                                              U.S. DIST. COUR^ESTER^ST^OKU.
  I was informed about the request that was sent out at a late notice, Due to^change ofaddress in
  miscommunication between I and my former attorney Colby D. Addison. I decided to end my
  counseling from former Colby Addison, due to dishonesty in miss information. I respectfully
  requested to seek other counseling. Attorney Colhy Addison inform me he will have to withdraw
 from case 19-CV-729-SIP. Due to the pandemic. IM having difficulties seeking other attorneys
 due to the deadline August 12 -2020. Mostly every law firm I reached out to was backup. In
 stated that they needed more time to review my case before representing me. Due to the
 pandemic I been furlough from my job, where its difficult to stay on top of my financial
 responsibilities. Leaving me without my own place of residence in not enough funds to afford
 Attorney. If there any possibility I can request for additional time due to the deadline would be
 very appreciated. If not, I have no other choice but to represent myself. I strongly believe that
 there was a violation of Title VII OF THE CIVIL RIGHTS ACT.

I would like for theses witness to be call upon.

Tami Tinney - Ms. Tinney was working in HR,at the time of my employment.                        a




Jason Jones. Mr.Jones was my manager at a point in time of my employment

Jeremy Whillhite. Mr.Willhite was my manager at the end of my employment.

Jeff Kottre. Mr.Kottre was the General manager at the time of my employment
Alton W. Another route manager.
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 Shawn A. another route manager


 Colton B. route driver.


 Tesla Miley.route driver


Katie Marvin. Route driver


Montay Eilis.route driver


Angie McAfee.Chief People Officer for Imperial.

If there is anything else you need from me, you can reach me at.

Cell(405)512-3924


Emai1. Melvinalan8@,gmaiI.com


Address. 1244 southeast 20st 73129 okc.
